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Exhibit C
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Sacred Beart Church

95 Henry Street
Greenwich, CT 06830

 

Rectory: (203) 531-8730
Fax: (203) 531-8794

August 31, 2020

To Whom It May Concern,
Re: Piotr Grabowski

This is to certify that Mr. Piotr Grabowski of 189 Henry Street, Greenwich, CT is registered
member of Sacred Heart Church in Greenwich, CT. Mr. Piotr Grawoski he and his wife
Barbara and their children Kacper, Thomas and Peter are active members of this parish. His
older son Kacper attended our Religious Education classes here and was an Altar Server.
Mr. Piotr Grabowski with his family attended the Sunday Masses here. He has been very
serviceable and sociable to our parishioners. It is noteworthy to mention that he worked at
cleaning up one of the stained-glass windows in our church.

Sincerely,

Re na Selvaraj
Pastor

 
